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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CONSUMER FINANCIAL
PROTECTION BUREAU,

Plaintiff
3:17-CV-101
(Judge Mariani)
NAVIENT CORPORATION, et al.,
Defendants.
SPECIAL MASTER ORDER #19
Now, this 25th day of March, 2019, IT IS HEREBY ORDERED THAT the agenda for
the telephonic status conference scheduled for March 26, 2019 at 11:00 a.m. shall include,
but not be limited to, the following matters:

1. The status of Plaintiffs production of documents that include the names Navient
or Pioneer Credit.

. The status of responses to Defendants’ letters to the federal and state agencies
implicated in the assertion of the Bank Examination Privilege.

. The status of the production of call records.

. The status of the searches for and production of records from Mr. Bailer and
“securitization” custodians as raised in the parties’ letters of March 15, 2019. —

. The status of the production of a log for documents produced by Navient in
redacted form.

 
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6. The status of issues pertaining to documents claimed by Navient to be protected
by the attorney-client privilege and which involved communications with third
parties.

7. The telephonic conference call scheduled for 11:00 a.m. on March 26, 2019 shall
be placed to 570-207-5605.

s/ Thomas |. Vanaskie
THOMAS |. VANASKIE
SPECIAL MASTER
